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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF OHIO
                   WESTERN DIVISION AT CINCINNATI

UNITED STATES OF AMERICA,

                             Plaintiff,             :      Case No. 1:13-cr-025 (6)
                                                           Also Case No. 1:16-cv-881

                                                           District Judge Susan J. Dlott
       -   vs   -                                          Magistrate Judge Michael R. Merz

ERIC BROCK,

                             Defendant.             :



 ORDER ADOPTING IN PART AND REJECTING IN PART REPORT
               AND RECOMMENDATIONS


       This case is before the Court on Defendant Eric Brock’s Motion to Vacate pursuant to 28

U.S.C. § 2255 (ECF No. 627). Upon referral, United States Magistrate Judge Michael R. Merz

recommended the Motion be dismissed with prejudice (Report and Recommendations, “Report”

ECF No. 630). Mr. Brock has now filed Objections to the Report (ECF No. 651). As required

by Fed. R. Civ. P. 72(b)(3), the District Court reviews de novo those portions of the Report to

which objection has been made.

       Brock makes no objection to the Report’s statement of the general standards for

considering a § 2255 Motion (ECF No. 630, PageID 2268-69) and the Court agrees that they are

accurately stated.

       The Report reflects that Mr. Brock was indicted with seventeen others for participating in

a narcotics distribution conspiracy and that he entered into a plea agreement under Fed. R. Crim.

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P. 11(c)(1)(C) for a ten year sentence which is what the Court imposed (ECF No. 630, PageID

2268). The Report found that Brock’s guideline sentencing range was 188-235 months which he

says is false (Objections, ECF No. 651, PageID 2329). However, that is the guideline sentencing

range recommended in the Presentence Investigation Report. At sentencing the Court adjusted

that range to 130 to 162 months based on findings set forth in the Statement of Reasons (ECF

No. 461, PageID 1383). The portion of the Report stating the guideline sentencing range was

188 to 235 months is in error and is not adopted.

       Brock asserts he is entitled to relief under the Plea Agreement because of ¶ 16 which

provides:

               16. The government agrees that in the event there is an amendment
               to 21 U.S.C. § 841 signed into law which reduces the term of
               imprisonment recommended in paragraph 2 of this agreement and
               which applies to this defendant, the defendant may pursue any
               review permitted through effect of such amendment.


ECF No. 651, PageID 2329, quoting ECF No. 317, PageID 1031.)                There have been no

amendments to 21 U.S.C. § 841 signed into law since Mr. Brock’s conviction. In his Motion to

Vacate, he asks whether Amendment No. 794 to the Sentencing Guidelines applies to him, but an

amendment to the Sentencing Guidelines is not “an amendment to 21 U.S.C. § 841”; such an

amendment must come from the Congress of the United States and be signed into law by the

President.

       The Report concluded Amendment 794 does in any event not have retroactive effect,

citing U.S.S.G. § 1B1.10 (ECF No. 630, PageID 2270). Brock objects, relying on Rivera v.

Warden, 27 Fed. Appx.511 (6th Cir. 2001). In Rivera the Sixth Circuit rejected an attempt by a

federal prisoner to obtain habeas corpus relief under 28 U.S.C. § 2241. It held



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               When an amendment to the Sentencing Guidelines clarifies a
               vague guideline and results in a lower guideline range, a prisoner
               can move the sentencing court under 18 U.S.C. § 3582(c)(2) for a
               reduction in the sentence if the amendment is listed in U.S.S.G. §
               1B1.10(c). None of the amendments that Rivera relies on are listed
               in U.S.S.G. § 1B1.10(c). Nevertheless, even if they were
               identified, Rivera still would move the sentencing court, not the
               district court where he is incarcerated. 18 U.S.C. § 3582(c)(2),

               Nevertheless, if an amendment clarifies a sentencing guideline,
               rather than substantively changes a guideline, a sentencing court
               can reduce the sentence by applying the amendment retroactively,
               even if it is not listed in U.S.S.G. § 1B1.10(c). But again, in such
               a case the prisoner files a § 2255 motion with the sentencing court.
               Jones v. United States, 161 F.3d 397, 402-03 (6th Cir.1998),
               amended by 178 F.3d 790 (6th Cir.1999); United States v. Cruz-
               Mendoza, 147 F.3d 1069, 1072-73 (9th Cir.1998); United
               States v. Marmolejos, 140 F.3d 488 (3d Cir.1998); Isabel v.
               United States, 980 F.2d 60, 61-63 (1st Cir.1992).


27 Fed. Appx. at 515. Upon examining the amended decision in the principal cited case, Jones v.

United States, 178 F.3d 790 (6th Cir. 1999), the Court finds it does not support bringing a § 2255

motion to have a clarifying amendment to the Guidelines applied retroactively. In fact, it holds

that §2255 may not be used even to correct an error in applying the Sentencing Guidelines,

“absent a complete miscarriage of justice.” Given that holding, the language in Rivera cannot be

read to support using § 2255 for that purpose. Instead, the issue before the Sixth Circuit in

Rivera was where a federal prisoner may seek relief at all after appeal. Rivera specifically says

that a prisoner can move for reduction based on a clarifying amendment by moving under 18

U.S.C. § 3582(c)(2), not 28 US.C. § 2255.

       The Report noted that facts set forth in the PSR did not support Brock’s claim that he was

a minor participant. In objection he cites various factors which he believes the Court should

consider in finding he had a “minor” role (ECF No. 651, PageID 2330).             A minor level

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adjustment would decrease the offense level to 25 with a resulting guideline range of 110 to 137

months. Mr. Brock was sentenced to an agreed mandatory minimum sentence of 120 months.

He presents no evidence or argument that he would have somehow been entitled to a downward

departure below that mandatory minimum term of imprisonment.



Conclusion



       Having reviewed the Report de novo, the Court rejects the Magistrate Judge’s finding of

what the sentencing guideline range was in this case or would have been with a two-level

downward adjustment for a minor role. However, Mr. Brock’s other objections are not well

taken and are overruled; the remainder of the Report is ADOPTED. The Motion to Vacate is

DISMISSED WITH PREJUDICE. Because reasonable jurists would not disagree with this

conclusion, Brock is denied a certificate of appealability and the Court certifies to the Sixth

Circuit that any appeal would be objectively frivolous and therefore should not be permitted to

proceed in forma pauperis.



December 5, 2016.

                                                       _s/Susan J. Dlott_________
                                                           Susan J. Dlott
                                                            United States District Judge




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